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     BRIAN M. BOYNTON
 1
     Acting Assistant Attorney General
 2   ALEXANDER K. HAAS
     Director, Federal Programs Branch
 3   ANTHONY J. COPPOLINO
     Deputy Director, Federal Programs Branch
 4
     ANDREW I. WARDEN (IN #23840-49)
 5   Senior Trial Counsel
     U.S. Department of Justice
 6   Civil Division, Federal Programs Branch
 7   1100 L Street, NW
     Washington, D.C. 20530
 8   Tel.: (202) 616-5084
     Fax: (202) 616-8470
 9   Attorneys for Defendants
10
                              UNITED STATES DISTRICT COURT
11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
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13
      STATE OF CALIFORNIA, et al.,
14
                         Plaintiffs,
15                                                                  No. 4:19-cv-00872-HSG
             v.                                                     No. 4:19-cv-00892-HSG
16
      JOSEPH R. BIDEN, JR., et al.,                                 No. 4:20-cv-01494-HSG
17                                                                  No. 4:20-cv-01563-HSG
                         Defendants.
18                                                                  JOINT STATUS REPORT
      SIERRA CLUB, et al.,
19
20                       Plaintiffs,

21           v.
22    JOSEPH R. BIDEN, JR., et al.,
23                       Defendants.
24
25          In accordance with the Court’s Order of February 17, 2021, Plaintiffs and Defendants
26   submit the following joint status report addressing proceedings in the above-captioned cases.
27          The parties’ most recent status report filed in February 2021 explained that the parties
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                   California v. Biden, 4:19-cv-00872-HSG; 4:20-cv-01563-HSG – Joint Status Report
                  Sierra Club v. Biden, 4:19-cv-00892-HSG; 4:20-cv-01494-HSG – Joint Status Report
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 1   agreed to stay further proceedings in these cases in light of the President’s Proclamation of
 2   January 20, 2021. See Proclamation No. 10142, 86 Fed. Reg. 7225. The Proclamation, inter alia,
 3   terminated the declaration of a national emergency at the southern border, paused construction
 4   and obligation of funds for border wall projects to the extent permitted by law, and directed
 5   various Executive Branch agencies to develop a plan “for the redirection of funds concerning the
 6   southern border wall, as appropriate and consistent with applicable law.” Id. at 7225–26. The
 7   Proclamation stated that the plan must “include consideration of terminating or repurposing
 8   contracts with private contractors engaged in wall construction, while providing for the
 9   expenditure of any funds that the Congress expressly appropriated for wall construction,
10   consistent with their appropriated purpose.” Id. at 7226.
11          Although the Proclamation directed that the plan be completed within 60 days of January
12   20, 2021, the Executive Branch is continuing to work on developing the plan and no final
13   decisions have been made to resume, modify, or terminate the border wall projects undertaken
14   pursuant to 10 U.S.C. §§ 284 and 2808 at issue in these cases. While the plan remains in
15   development, the pause on construction and obligation of funds for these projects, as set forth in
16   the Proclamation, will remain in effect.
17          In light of the ongoing Executive Branch review, the parties agree that proceedings in
18   these cases should remain stayed. Defendants will notify the Court and Plaintiffs when the
19   Executive Branch has made final decisions regarding the challenged projects and the redirection
20   of funds in accordance with the Proclamation. The parties agree to submit a joint status report
21   within 14 days of that notification or no later than May 17, 2021, addressing further proceedings
22   in these cases. Plaintiffs reserve the right to seek discovery of the plan contemplated by the
23   Proclamation or information relating to the plan.
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                   California v. Biden, 4:19-cv-00872-HSG; 4:20-cv-01563-HSG – Joint Status Report
                  Sierra Club v. Biden, 4:19-cv-00892-HSG; 4:20-cv-01494-HSG – Joint Status Report
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     DATE: April 15, 2021                               Respectfully submitted,
 2
                                                        BRIAN M. BOYNTON
 3                                                      Acting Assistant Attorney General
 4
                                                        ALEXANDER K. HAAS
 5                                                      Director, Federal Programs Branch

 6                                                      ANTHONY J. COPPOLINO
 7                                                      Deputy Director, Federal Programs Branch

 8                                                      /s/ Andrew I. Warden
                                                        ANDREW I. WARDEN
 9                                                      Senior Trial Counsel (IN Bar No. 23840-49)
10                                                      RACHAEL L. WESTMORELAND
                                                        MICHAEL J. GERARDI
11                                                      LESLIE COOPER VIGEN
                                                        Trial Attorneys
12                                                      U.S. Department of Justice
13                                                      Civil Division, Federal Programs Branch
                                                        1100 L Street, NW
14                                                      Washington, D.C. 20530
                                                        Tel.: (202) 616-5084
15                                                      Fax: (202) 616-8470
16                                                      E-Mail: Andrew.Warden@usdoj.gov

17                                                      Counsel for Defendants
18
19
20
21
22
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 1   DROR LADIN*                                             MATTHEW RODRIQUEZ
     NOOR ZAFAR*                                             Acting Attorney General of California
 2                                                           ROBERT W. BYRNE
     HINA SHAMSI*
     OMAR C. JADWAT*                                         MICHAEL L. NEWMAN
 3
     AMERICAN CIVIL LIBERTIES UNION                          EDWARD H. OCHOA
 4   FOUNDATION                                              Senior Assistant Attorneys General
     125 Broad Street, 18th Floor                            MICHAEL P. CAYABAN
 5                                                           CHRISTINE CHUANG
     New York, NY 10004
     Tel: (212) 549-2660                                     JAMES F. ZAHRADKA II
 6
     dladin@aclu.org                                         Supervising Deputy Attorneys General
 7   hshamsi@aclu.org                                        BRIAN J. BILFORD
     ojadwat@aclu.org                                        SPARSH S. KHANDESHI
 8                                                           JANELLE M. SMITH
     nzafar@aclu.org
 9
     /s/ Cecillia D. Wang                                    /s/ Lee I. Sherman
10   CECILLIA D. WANG (SBN 187782)                           LEE I. SHERMAN
     AMERICAN CIVIL LIBERTIES UNION                          Deputy Attorney General
11                                                           300 S. Spring St., Suite 1702
     FOUNDATION
12   39 Drumm Street                                         Los Angeles, CA 90013
     San Francisco, CA 94111                                 Tel.: (213) 269-6404
13   Tel: (415) 343-0770                                     E-mail: Lee.Sherman@doj.ca.gov
14   cwang@aclu.org
                                                             Attorneys for Plaintiff State of
15   SANJAY NARAYAN (SBN 183227)**                           California in 4:19-cv-00872-HSG and
     GLORIA D. SMITH (SBN 200824)**                          4:20-cv-01563-HSG
16   SIERRA CLUB ENVIRONMENTAL
17   LAW PROGRAM
     2101 Webster Street, Suite 1300
18   Oakland, CA 94612
     Tel: (415) 977-5772
19
     sanjay.narayan@sierraclub.org
20   gloria.smith@sierraclub.org

21   Attorneys for Plaintiffs in
     4:19-cv-00892-HSG and
22
     4:20-cv-01494-HSG
23
     *Admitted pro hac vice
24   **Attorneys for Plaintiff Sierra Club only
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26
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